CASE 0:18-cv-00838-PAM-HB Doc. 1-2 Filed 03/26/18 Page 1 of 6




                                                          EXHIBIT 2
CASE 0:18-cv-00838-PAM-HB Doc. 1-2 Filed 03/26/18 Page 2 of 6




                                                          EXHIBIT 2
CASE 0:18-cv-00838-PAM-HB Doc. 1-2 Filed 03/26/18 Page 3 of 6




                                                          EXHIBIT 2
CASE 0:18-cv-00838-PAM-HB Doc. 1-2 Filed 03/26/18 Page 4 of 6




                                                          EXHIBIT 2
CASE 0:18-cv-00838-PAM-HB Doc. 1-2 Filed 03/26/18 Page 5 of 6




                                                          EXHIBIT 2
CASE 0:18-cv-00838-PAM-HB Doc. 1-2 Filed 03/26/18 Page 6 of 6




                                                          EXHIBIT 2
